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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    KHALED ELSISI, NAJY KANAN, AHMED
    KHDER, ASHER BOMANI LEWIS,
    RICARDO MARQUEZ, CHRISTINE LINDA
    MASTERS, LUIS PINOS, GABRIELA
    JANETA ROMAN, BARRY ROSNER,
    AHMED SHARAFELDIN, STUART
    WAYNE SPRINGFIELD, CHRISTOPHER
    EMANUEL SZABO, LINWOOD WALKER,
    and ROBERT YENG,
                                                             2:23-cv-20773 (MEF-MAH)
                       Plaintiffs,

             v.                                       ORDER, FINDINGS OP FACT, AND
                                                      CONCLUSIONS OF LAW
   CFT SOLUTIONS, LLC, RENAN DE
   ROCHA GOMES BASTOS, YVENSON
   ISRAEL, ARTHUR PERCY, CHUCK
   MARSHALL, DIVINE-SEVEN EL,
   MICHAEL JEX, ELIDO SANTANA

                      Defendants.



            THIS MATTER is before the Court on the Plaintiff Counsel's Motion to Seal, filed under

   tempormy seal as Memorandum of Law (ECF No. 76), Affirmation of Elena Fast (ECF No.

   76-1 ), and the Declarations of the Plaintiffs (ECF No. 76-2) submitted in support of the Elena

   Fast and Michael Perkins' Motion to Withdraw as Attomey for Plaintiffs; and the Court having

   considered the submissions of the parties; and the Court having made the following findings of

   fact and conclusions of law, pursuant to Local Civil Rule 5.3(c); and for good cause having been

   shown:
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